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1A
 /2009
 /2011
 101-7-TFR
 3ems Inc.
                                                           UNITED STATES BANKRUPTCY COURT
                                                           CAMDEN DISTRICT OF NEW JERSEY


                   In re:                                                                          §
                                                                                                   §
                   MCMULLEN, ELIZABETH A.                                                          §           Case No. 16-27835 JNP
                                                                                                   §
                                                                 Debtor                            §

                                                                TRUSTEE’S FINAL REPORT (TFR)

                              The undersigned trustee hereby makes this Final Report and states as follows:

                          1. A petition under chapter 7 of the United States Bankruptcy Code was filed on
                    09/18/2016 . The undersigned trustee was appointed on 09/19/2016 .

                              2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                           3. All scheduled and known assets of the estate have been reduced to cash, released to
                   the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
                   pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
                   disposition of all property of the estate is attached as Exhibit A.

                              4. The trustee realized gross receipts of                                             $               31,729.24

                                                     Funds were disbursed in the following amounts:

                                                     Payments made under an interim                                                          0.00
                                                     disbursement
                                                     Administrative expenses                                                          1,851.14
                                                     Bank service fees                                                                  233.46
                                                     Other payments to creditors                                                          0.00
                                                     Non-estate funds paid to 3rd Parties                                                 0.00
                                                     Exemptions paid to the debtor                                                        0.00
                                                     Other payments to the debtor                                                         0.00
                                                                                               1
                                                     Leaving a balance on hand of                                   $               29,644.64

                    The remaining funds are available for distribution.


             ____________________
                        1
                           The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
             will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
             maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.
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             5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
      account.

             6. The deadline for filing non-governmental claims in this case was 05/03/2017 and the
      deadline for filing governmental claims was 03/17/2017 . All claims of each class which will
      receive a distribution have been examined and any objections to the allowance of claims have
      been resolved. If applicable, a claims analysis, explaining why payment on any claim is not
      being made, is attached as Exhibit C.

                 7. The Trustee’s proposed distribution is attached as Exhibit D.

             8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
      $ 3,922.92 . To the extent that additional interest is earned before case closing, the maximum
      compensation may increase.

             The trustee has received $ 0.00 as interim compensation and now requests a sum of
      $ 3,922.92 , for a total compensation of $ 3,922.92 2. In addition, the trustee received
      reimbursement for reasonable and necessary expenses in the amount of $ 0.00 , and now requests
      reimbursement for expenses of $ 79.38 , for total expenses of $ 79.38 2.

             Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
      foregoing report is true and correct.


      Date: 02/12/2019                                     By:/s/JOSEPH D. MARCHAND, TRUSTEE
                                                               Trustee



      STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
      exemption 5 C.F.R. § 1320.4(a)(2) applies.




____________________
           2
            If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the
Trustee’s Proposed Distribution (Exhibit D).

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                                                                                                            ASSET CASES                                                                                                 Exhibit A
Case No:             16-27835       JNP    Judge: JERROLD N. POSLUSNY, JR.                                                                      Trustee Name:                      JOSEPH D. MARCHAND, TRUSTEE
Case Name:           MCMULLEN, ELIZABETH A.                                                                                                    Date Filed (f) or Converted (c):    09/18/16 (f)
                                                                                                                                               341(a) Meeting Date:                10/31/16
For Period Ending: 02/12/19                                                                                                                    Claims Bar Date:                    05/03/17



                                       1                                                    2                            3                          4                         5                                    6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                  Asset Fully Administered (FA)/
                              Asset Description                                      Unscheduled            Less Liens, Exemptions,             Abandoned                Received by                Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                             Values                  and Other Costs)             OA=554(a) Abandon             the Estate

 1. Single-family home,                                                                   134,000.00                                0.00           OA                                   0.00                     FA
 12 Blanchard RoadMarlton NJ 0
 2. 2000 chrysler 300 (debtor's car Location: 12 Blanc                                       1,840.00                               0.00                                                0.00                     FA
 3. debtor's furniture Location: 12 Blanchard Road, Ma                                       1,000.00                               0.00                                                0.00                     FA
 4. debtor's clothing Location: 12 Blanchard Road, Mar                                       1,000.00                               0.00                                                0.00                     FA
 5. HUMANA INC 117 Shares Location: 12 Blanchard Road,                                     21,043.62                          21,043.62                                            31,729.24                     FA
     Consent Order entered 8/7/17 denying Exemption on Humana Shares

     5/21/18 - Rec'd Check No. 32926 in the amount of $30,102.10(Sale of
     Humana Stock)
 6. Lifepoint Health Inc Location: 12 Blanchard Road,                                           394.24                              0.00                                                0.00                     FA
 7. Bank of America #8353 (u)                                                                3,960.00                               0.00                                                0.00                     FA

                                                                                                                                                                                                  Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                       $163,237.86                         $21,043.62                                           $31,729.24                            $0.00
                                                                                                                                                                                                  (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   Asset - Humana Stock


   1st Quarter, 2017 - Order Extending Time to Object to Schedule C signed on 3/7/17


   2nd Quarter, 2017 - 2 Subpoenas sent to Record Keeper at Stock company to get basis and history on 5/1/17


   3rd Quarter, 2017 - Consent Order Filed Striking Certain Exemptions executed by Judge 8/7/17




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                                                                                                        ASSET CASES                                                                       Exhibit A
Case No:              16-27835     JNP    Judge: JERROLD N. POSLUSNY, JR.                                                    Trustee Name:                      JOSEPH D. MARCHAND, TRUSTEE
Case Name:            MCMULLEN, ELIZABETH A.                                                                                 Date Filed (f) or Converted (c):   09/18/16 (f)
                                                                                                                             341(a) Meeting Date:               10/31/16
                                                                                                                             Claims Bar Date:                   05/03/17


   4th Quarter, 2017 - Drafted Application to appoint AST as Transfer Agent to sell Humana Stock; Ltr with draft
   Application and executed Affidavit of Loss sent to AST on 10/26/17; phone call from AST minor correction to be supplied


   1st Quater, 2018 - Motion to appoint Transfer Agent & Sell Stock & Notice of Private Sale filed on 1/23/18; Returnable
   2/20/18. Tax Return to be filed 4/30/18; Motion to Bar/Expunge Claims to be filed 4/30/18; Administrative Tax Motion to
   be filed 8/30/18


   1st Quarter, 2018 - 2/20/18 Motion to appoint AST and allow liquidation of Stock returnable & order entered


   2nd Quarter, 2018 - W-9 sent 4/26/18; 5/17/18 status request sent regarding sale. Money received 5/21/18; 6/22/18
   Background information sent to Accountant to prepare Tax Return


   Initial Projected Date of Final Report (TFR): 12/30/18         Current Projected Date of Final Report (TFR): 12/30/18




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                                                                            ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                          Exhibit B
  Case No:               16-27835 -JNP                                                                                               Trustee Name:                       JOSEPH D. MARCHAND, TRUSTEE
  Case Name:             MCMULLEN, ELIZABETH A.                                                                                      Bank Name:                          EMPIRE NATIONAL BANK
                                                                                                                                     Account Number / CD #:              *******0726 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******6277
  For Period Ending: 02/12/19                                                                                                        Blanket Bond (per case limit):      $ 33,064,316.00
                                                                                                                                     Separate Bond (if applicable):


           1                2                               3                                                    4                                                 5                         6                         7
    Transaction         Check or                                                                                                            Uniform                                                              Account / CD
       Date             Reference                 Paid To / Received From                         Description Of Transaction               Tran. Code       Deposits ($)            Disbursements ($)             Balance ($)
                                                                                      BALANCE FORWARD                                                                                                                            0.00
          05/21/18                   Humana, Inc.                                     Sale of Humana Stock                                                          30,102.10                                              30,102.10
                                     American Stock Transfer &
                                     Trust Co., LLC
                                     6201 15th Avenue
                                     Brooklyn, NY 11219
                            5                                                             Memo Amount:               31,729.24             1129-000
                                                                                      Sale of Stock
                                                                                         Memo Amount:        (        1,627.14 )           2990-000
                                                                                      Administrative Fee
          06/01/18                   EMPIRE NATIONAL BANK                             BANK SERVICE FEE                                     2600-000                                                14.43                   30,087.67
          07/02/18                   EMPIRE NATIONAL BANK                             BANK SERVICE FEE                                     2600-000                                                43.28                   30,044.39
          07/12/18       006001      STATE OF NEW JERSEY - TGI                        2017 NJ Form 1041                                    2820-000                                               224.00                   29,820.39
                                     P.O. BOX 245                                     2017 Form NJ 1041
                                     TRENTON, NJ 08695                                EIN XX-XXXXXXX
          08/01/18                   EMPIRE NATIONAL BANK                             BANK SERVICE FEE                                     2600-000                                                44.59                   29,775.80
          09/04/18                   EMPIRE NATIONAL BANK                             BANK SERVICE FEE                                     2600-000                                                44.26                   29,731.54
          10/01/18                   EMPIRE NATIONAL BANK                             BANK SERVICE FEE                                     2600-000                                                42.77                   29,688.77
          11/01/18                   EMPIRE NATIONAL BANK                             BANK SERVICE FEE                                     2600-000                                                44.13                   29,644.64

                                             Memo Allocation Receipts:           31,729.24                       COLUMN TOTALS                                      30,102.10                     457.46                    29,644.64
                                         Memo Allocation Disbursements:           1,627.14                           Less: Bank Transfers/CD's                           0.00                       0.00
                                                                                                                 Subtotal                                           30,102.10                     457.46
                                                   Memo Allocation Net:          30,102.10                           Less: Payments to Debtors                                                      0.00
                                                                                                                 Net
                                                                                                                                                                    30,102.10                     457.46
                                                                                                                                                                                         NET                           ACCOUNT
                     Total Allocation Receipts:            31,729.24                                           TOTAL - ALL ACCOUNTS                        NET DEPOSITS             DISBURSEMENTS                      BALANCE
               Total Allocation Disbursements:              1,627.14                         Checking Account (Non-Interest Earn - ********0726                      30,102.10                     457.46                  29,644.64
                                                                                                                                                         ------------------------   ------------------------   ------------------------
                     Total Memo Allocation Net:            30,102.10
                                                                                                                                                                     30,102.10                     457.46                  29,644.64


                                                                                                                                     Page Subtotals                 30,102.10                      457.46
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                       Exhibit B
  Case No:             16-27835 -JNP                                                                                   Trustee Name:                    JOSEPH D. MARCHAND, TRUSTEE
  Case Name:           MCMULLEN, ELIZABETH A.                                                                          Bank Name:                       EMPIRE NATIONAL BANK
                                                                                                                       Account Number / CD #:           *******0726 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******6277
  For Period Ending: 02/12/19                                                                                          Blanket Bond (per case limit):   $ 33,064,316.00
                                                                                                                       Separate Bond (if applicable):


          1               2                              3                                            4                                            5                       6                    7
    Transaction       Check or                                                                                                Uniform                                                      Account / CD
       Date           Reference                Paid To / Received From                    Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                                                                                                                           ==============           ==============        ==============
                                                                                                                                            (Excludes Account       (Excludes Payments          Total Funds
                                                                                                                                                    Transfers)             To Debtors)            On Hand




                                                                                                                       Page Subtotals                        0.00                  0.00
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                                                                          EXHIBIT C
 Page 1                                                                                                                           Date: February 12, 2019
                                                                 ANALYSIS OF CLAIMS REGISTER

 Case Number:      16-27835                                            Claim Class Sequence
 Debtor Name:      MCMULLEN, ELIZABETH A.


Code #              Creditor Name & Address         Claim Class       Notes                    Amount Allowed          Paid to Date      Claim Balance

7-ADM          JOSEPH D. MARCHAND, ESQUIRE          Administrative                                   $5,976.00                $0.00             $5,976.00
001            117-119 West Broad Street
3110-00        PO Box 298
               Bridgeton, NJ 08302

7-ADM          JOSEPH D. MARCHAND, ESQUIRE          Administrative                                    $194.25                 $0.00              $194.25
001            117-119 West Broad Street
3120-00        PO Box 298
               Bridgeton, NJ 08302

7-ADM          GIULIANO MILLER & CO., LLC           Administrative                                   $2,371.50                $0.00             $2,371.50
001            Berlin Business Park
3410-00        140 Bradford Drive
               West Berlin, NJ 08091

7-ADM          GIULIANO MILLER & CO., LLC           Administrative                                     $14.47                 $0.00                $14.47
001            Berlin Business Park
3420-00        140 Bradford Drive
               West Berlin, NJ 08091



000001         Capital One Bank (USA), N.A.         Unsecured                                       $15,841.58                $0.00           $15,841.58
070            PO Box 71083
7100-00        Charlotte, NC 28272-1083

000002         Bureaus Investment Group Portfolio No Unsecured                                       $5,781.94                $0.00             $5,781.94
070            15 LLC
7100-00        c/o PRA Receivables Management, LLC
               PO Box 41021
               Norfolk VA 23541

000003         Directv, LLC                         Unsecured                                         $288.90                 $0.00              $288.90
070            by American InfoSource LP as agent
7100-00        4515 N Santa Fe Ave
               Oklahoma City, OK 73118

000004         David R. Dahan. Esq.                 Unsecured                                        $2,859.26                $0.00             $2,859.26
070            Hyland Levin LLP
7100-00        6000 Sagemore Drive, Suite 6301
               Marlton NJ 08053



                  Case Totals:                                                                      $33,327.90                $0.00           $33,327.90
 Code #: Trustee's Claim Number, Priority Code, Claim Type




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                                          TRUSTEE’S PROPOSED DISTRIBUTION

                                                                                                         Exhibit D

     Case No.: 16-27835 JNP
     Case Name: MCMULLEN, ELIZABETH A.
     Trustee Name: JOSEPH D. MARCHAND, TRUSTEE
                         Balance on hand                                              $               29,644.64

               Claims of secured creditors will be paid as follows:


                                                             NONE


               Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                            Interim Payments Proposed
                         Reason/Applicant              Total Requested      to Date          Payment
       Trustee Fees: JOSEPH D. MARCHAND,
       TRUSTEE                                        $         3,922.92 $                0.00 $         3,922.92
       Trustee Expenses: JOSEPH D.
       MARCHAND, TRUSTEE                              $               79.38 $             0.00 $             79.38
       Attorney for Trustee Fees: JOSEPH D.
       MARCHAND, ESQUIRE                              $         5,976.00 $                0.00 $         5,976.00
       Attorney for Trustee Expenses: JOSEPH D.
       MARCHAND, ESQUIRE                        $                 194.25 $                0.00 $          194.25
       Accountant for Trustee Fees: GIULIANO
       MILLER & CO., LLC                              $         2,371.50 $                0.00 $         2,371.50
       Accountant for Trustee Expenses:
       GIULIANO MILLER & CO., LLC                     $               14.47 $             0.00 $             14.47
                 Total to be paid for chapter 7 administrative expenses               $               12,558.52
                 Remaining Balance                                                    $               17,086.12


               Applications for prior chapter fees and administrative expenses have been filed as follows:




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                                                             NONE


              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 0.00 must be paid in advance of any dividend to general (unsecured) creditors.

                 Allowed priority claims are:


                                                             NONE


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 24,771.68 have been allowed and will
     be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 69.0 percent, plus interest (if
     applicable).

                 Timely allowed general (unsecured) claims are as follows:

                                                       Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                     of Claim             to Date          Payment
                          Capital One Bank (USA),
     000001               N.A.                       $        15,841.58 $              0.00 $       10,926.64
                          Bureaus Investment Group
     000002               Portfolio No             $           5,781.94 $              0.00 $        3,988.06
     000003               Directv, LLC               $           288.90 $              0.00 $           199.27
     000004               David R. Dahan. Esq.       $         2,859.26 $              0.00 $        1,972.15
                 Total to be paid to timely general unsecured creditors               $             17,086.12
                 Remaining Balance                                                    $                   0.00




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             Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been allowed and will
     be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
     have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent.

                 Tardily filed general (unsecured) claims are as follows:


                                                            NONE




            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 0.00 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent.

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:


                                                            NONE




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